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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

THOMAS C. BEASLEY,

       Plaintiff,

v.                                                              Case No: 5:17-cv-549-Oc-02PRL

UNITED STATES OF AMERICA

       Defendant.


                                             ORDER

       Plaintiff, proceeding pro se, initiated this case by filing a Complaint for Violation of Civil

Rights under the Federal Tort Claims Act (FTCA), 28 U.S.C. § 1346. (Doc. 1). Pending before the

Court now is Plaintiff’s Motion to Compel. (Doc. 39). Plaintiff’s one sentence motion seeks an

order compelling the Defendant to send “discovery request from Plaintiff, request for production,

numbers 9 through 12, a DVD of evidence footage, along with a clear copy of digital camera

picture of Plaintiff’s damaged face.” (Doc. 39).

       On April 2, 2019, a Scheduling Order was entered in this case setting the schedule for

completion of discovery and pre-trial procedures. (Doc. 29). The Scheduling Order was amended

on June 13, 2019 extending the discovery deadline to August 12, 2019 and ordered that any

motions to compel discovery shall be filed on or before August 22, 2019. (Doc. 33). The

Scheduling Order further contained specific instructions on what a motion to compel needs to

contain:

               The parties are cautioned and reminded of their obligation to comply
               with Local Rule 3.04, Middle District of Florida (M.D. Fla.), which
               requires the moving party to state the request, followed by the
               objection, and then the reason why the motion [to compel] should
               be granted (i.e., why the answer or response should be provided).
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(Doc. 29 at 2).

        Accordingly, Plaintiff’s motion (Doc. 39) is DENIED without prejudice as it fails to

comply with Local Rule 3.04.

        Also pending is Plaintiff’s motion to stay discovery due to him being transferred to another

facility. (Doc. 40). As noted, above, the discovery deadline has already been extended from July

2, 2019 to August 12, 2019, due to this pending transfer. 1 Plaintiff alleges that due to this transfer,

he does not have his paperwork. (Doc. 40). Rule 6(b) of the Federal Rules of Civil Procedure

permits the Court to extend time for good cause if the request is made before the original time

expires. In addition, Rule16(b)(4) permits the Court to modify the scheduling order in a case for

good cause.

        Upon due consideration, because Plaintiff is being transferred Plaintiff’s Motion (Doc. 40)

is GRANTED to the limited extent that the deadlines in the Case Management and Scheduling

Order (Doc. 27) as amended by the June 13, 2019 Order (Doc. 33) will be AMENDED as follows:

        • The discovery deadline is now: October 1, 2019. Any motions related to these discovery

matters shall be filed by October 14, 2019.

        • All dispositive motions, such as a motion dismiss or for summary judgment shall be filed

by November 28, 2019. This deadline is also applicable to the filing of any motions or the raising

of any affirmative defenses based on qualified immunity.

        Plaintiff is advised that no further extensions of the discovery period will be granted

absent exigent circumstances.



1On May 24, 2019, Plaintiff stated that he was being transferred from USP Tucson. (Doc. 32). On June 25,
2019, Plaintiff signed a motion to compel while housed at USP Tucson. (Doc. 36). On August 11, 2019,
Plaintiff signed another motion to compel (Doc. 39) and this motion to stay discovery (Doc. 40) while
housed at USP Tucson.

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       Finally, Plaintiff has filed a motion requesting “this Court to reconsider Plaintiff’s current,

past, and ongoing issues” wherein he challenges the Court’s past rulings. (Doc. 41). Upon due

consideration, the motion (Doc. 41) is DENIED.

       IT IS SO ORDERED.

       DONE AND ORDERED at Ocala, Florida, this 16th day of September 2019.




Copies to: Pro Se Parties, Counsel of Record




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